                         Case 1:18-cv-00829-SCY-JFR Document 123-11 Filed 03/24/22 Page 1 of 5


                                     DEPARTMrNT OF PUBLIC SAFETY ClfVER SHEET
I"N1        •                                                                                                                 INCIDENT NO.:.. --21115-16112; -~
    c       ! OFFENSE:
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1 1         r-' ---------------------------------+--c_A_s_E_N_O.:                                                                               _1_5-_13_289_7_ _
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IE                DATE OF OFfENSE:                                            Juor S, 20JS                                       TIME:              09;40

~I        LOCATION                                                                                                              COUNTY:         SanMiguel
      _ . 0~ OFFEN~E:

i       PERSO~ CODE                           NAME          DOB              SSN#                                 ADDRESS           ______     T_E_L_E_PH_O_N_E_~
r---;;;ECT                          VIGIL, JOHN P         12108/1963     525-J 1-4746    Address Type! HOME ADDRESS                           (SOS) 4S4-21M
                                                                                         ~et Address: 512 LUGAR DEWS CABALLEROS

I                                                                                        City: LAS VEGAS State; NM Zip: 87781
                                                                                         County: SAN MIGUEL Region; REGION 2 Co11.0try:
                                                                                         UNITED STATES
        IU:PORTING                   CHAVEZ, JOE                                         Addre5li Type: BUSINESS ADOIU:SS Road Type:          (5fiS) 7UHUi6
          PERSON                                                                         STATE ROAD
                                                                                                                                              (5fl5) 454-2100
                                                                                         Street Address: 3695 HOT SPRINGS BLVD,
                                                                                         City: LAS VEGAS State: NM Zip: 87701
                                                                                         County: SAN MIGUEL Region: REGION 2 Country;
                                                                                         UNITED STATES
        REPORTING                 TWEED, FRANCES                                          Address Type: BUSINESS ADDRESS Road Type:           (585) 454-21M
          PERSON                                                                          STATE ROAD
                                                                                          Street Address: 3695 HOT SPRINGS BLVD
                                                                                          City: LAS VEGAS State: NM Zip: 87701
                                                                                          County: SA!'ol MIGUEL Region; REGION 2 Country:
                                                                                        . !f!III'[ED STATES
~r=========~====~==========~==~~========~==-···-· -.==-·~··~··============~
. A         AITACHME!'o!T (A) PHOTOS OF J. VIGIL'S WORK SPACE
iTT 1 -------                                                               --------------                                                     --------~

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    ATTACHMENT (B) COPY OF SEARCH WARRANT AND AFI<1DAVIT FOR SEARCH WARRANT
IA                                                                                                   -·--· - - - - - -
1C          ATTA~HMENT (C) C~PY OF RETURll! OF INVEN_OT_O_R_Y_ __                                                                                                   I
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.~ ATTACHME!\'T(D)AU~IORECORD~GJOECH~VEZA~DF~J'\CESTWEED                                                ··----
    E ATTACHMENT (E) COPY OF (CAD) REPORT
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· A               REPORTING OFFICER:                       DEPUTY SEAS ARMIJO                              CASE STATUS:
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                  Vigil v. Tweed, et al.                               Plainitiff's Initial Rule 26 Disclosures                                    000007
                Case 1:18-cv-00829-SCY-JFR Document 123-11 Filed 03/24/22 Page 2 of 5


       STATE OF NEW MEXICO INCIDENT REPORT

           OCCURRENCE OATE(S)
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                                                   REPORTED             SAN MIGUEL COTJN'l'Y SHERIFF 'S OFFIC San Miguel
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 06/05/2015            06/05/2015              06/05/2015              02005                                 bs-132897
                                                                       HATE I BIAS MOTNATION                                                                                                 GANGREL
    TIME        DAY         TIME        DAY      TIME          DAY
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 09:40 FRI             22:27 FRI               0.9:40 FRI              No Hate/Bias motivation apparent                                                                                      J        ~
 AOORESS/lOCAT10N OF INCIDENT



 PERSON CODE                                      TYPECOOE                                   INJURY CODE
 SUSPECT            INDIVIDUAL   NONE
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   1 ·NAME (LAST, FIRST, MIDDLE}                                                     SOCIAL SECURITY NO.                008                    AGE SEX RACE: WHI                   BLK ASIA IND       LINK

 V:IGIL,        JOHN P                                                               XXX-XX-XXXX 12/08/1.963 51 M                                                     I xl_LJ~-- r·!
 OCCUPATION                                                                         ··Vicn'MoF OFF.N"OTtisGHTWE:IGHT HAIR eves 1 ETHNIC                               -- · -            . AGGASSAULT
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 ARRESTICITATION NO. F.B.I. NO                  S.ID.NO.                  NCICNO.

            .......
 Address Type: HOME ADDRESS
 Street Address: 512 LUGAR DE LOS CABALLEROS
 City: LAS VEGAS    State: NM   Zip: 87701
 County: SAN MIGUEL    Region: REGION 2    Country: UNITED STATES
 TELEPHONES            Wox-k Phone                                         505           454          2100
PERSON CODE                                      TYPE CODE                                 INJURY CODE

REPORTING PERSON                  INDIVIDUAL                                               NONE
 - - - - - - - - - - - - - ..·---                                         .. --.~ SOCIAL SECURITY NO.          --00,.--B_ _ _ _A_G-::-E-S_E_X_RA_C_E_:_W_H_I_BL_K_AS_IA_IN-0 -                    UNK
  2 -NAME (LAST, FIRST, MIDDLE)

CHAVEZ,          JOE                                                                                                                                  M              Lu_             L'I L]
OCCUPATION                                          ----- -- -- .... __ - - "[liiCTil\11 OF OFF. NC 1HErGtfr 'wEIGHT              HArc::R=---=EY:-::E::::S-::--r::
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SECURITY SUPERVISOR                                ________ , _____,_               'I       .
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EMPLOYER I SCHOOL                                                                        ~~P'!:'o    RELATIONSHIP



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Address Type: BUSINESS ADDRESS     Road Type: STATE ROAD
,Street Address: 3695 HOT SPR:INGS BLVD,
City: LAS VEGAS    State: NM    Zip: 87701
County: SAN MIGUEL    Region: REGION 2     Country: UNITED STATES
 TELEPHONES            Home Phone                                          505           718          0166
 TELEPHONES            Work Phone                                         505            454          2100




      Vigil v. Tweed, et al.                                         Plainitiff's Initial Rule 26 Disclosures                                                                             000008
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       STATE OF NEW MEXICO INCIDENT REPORT
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PERSOI'fCOOE                                     TYPECOOE                                tNJURYCODE

REPORTING PERSON                                 INDIVIDUAL                              NONE
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                                                                                    SOCIAl SECURITY NO.
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TWEED, FRANCES                                                                                                                                    F            ~~-                   I         I    'l
OCCUPATION
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EXCUTIVE NURSE ADMINISTRATOR
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EMPLOYER I SCHOOl                                                                      ~.0J'o    RELATIONSHIP


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City: LAS VEGAS    State: NM   Zip: 87701
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County: SAN MIGUEL    Region: REGION 2    Country: UNITED STATES                                                                                                                                         i
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 TELEPHONES              Work Phone                                          505       454         2100
   M.O. E\fM CODES : (AGENCY OPllONAl USE)                                                                                                    TOTAL VALUE STOLEN          TOTAL VALUEREC.




   SYNOPSIS
   on June 5th, 2015 at approximately 10:00 a.m. I was dispatched to 3695 Hot Springs Blvd.
   (New Mexico Behavioral Health Institute) in reference to possible larceny of narcotics.




      Vigil v. Tweed, et al.                                        Plainitiff's Initial Rule 26 Disclosures                                                                    000009
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  STATE OF NEW MEXICO INCIDENT REPORT
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ASSIGNMENT:
on June 5th, 2015 at approximately 10:00 a.m. I was dispatched to 3695 Hot Springs Blvd.
(New Mexico Behavioral Health Institute) in reference to possible larceny of narcotics.

INVESTIGATION:
 Upon my arrival on scene, I made contact with Security Supervisor, Joe Chavez, who
advised me that Frances Tweed had received an anonymous letter stating an NMBHI employee
was stealing medication and money from patients currently being treated at NMBHI. Ms.
Tweed is the executive nurse administrator for NMBHI. Ms. Tweed provided me with a copy
of the anonymous letter. The letter alleged that Psych Tech Supervisor, John Vigil, had
money and prescription narcotics belonging to various patients at NMBHI, locked inside
of his desk.

STATEMENT: (JOE CHAVEZ AND FRANCES TWEED)
Mr. Chavez, prior to my arrival, made entry into J. Vigil's office and cut the padlock
on his desk. Mr. Chavez then directed me to J. Vigil's office. Inside of J. Vigil's
office I observed J. Vigil's wooden work desk which was located on the south side of the
office. Mr. Chavez who had previously cut the padlock an the top part of the desk's
compartment, had replaced it with a lock of his own, in which only he had a key to. Mr.
Chavez unlocked the lock and opened the upper compartment of J. Vigil's desk. In plain
view, I observed approximately four unidentified prescription pill bottles, a small cup
containing an unidentified prescription pill, and approximately four sealed (Southwest
Capital Bank) money envelopes. At this point I advised Mr. Chavez to seal the desk and I
left J. Vigil's Office.

Mr. Chavez then provided me photos that he initially took when he cut the padlock to the
desk. After reviewing the photos which he burned to a disk, I observed multiple sealed
 (Southwest Capital Bank} money envelopes along with more possible prescription
medication in one of the drawers to J. Vigil's desk. I was advised by Ms. Tweed, the
pill inside of the small container was possibly Ativan. Ms. Tweed stated she had
researched the pill's descriptors and found it to be Ativan. Upon information and
belief, Ativan is a scheduled narcotic.

{FOR EXACT WORDING REFER TO ATTACHMENT {D) AUDIO RECORDING JOE CHAVEZ AND FRANCES TWEED)

DISPOSITION:
Upon information from BHI Director Troy Jones, Mr. Vigil has authority to assist in the
distribution of medication to patients, however he does not have authority to possess
the drugs. I contacted Under Sheriff Anthony Madrid after gathering all information and
a search warrant was placed for Mr. Vigil's work space. Under Sheriff Madrid and I took
photos of the items retrived from Mr. Vigil's work space.

(REFER TO ATTACHMENT {A) FOR PHOTOS OF J. VIGIL'S WORK SPACE)

(FOR MORE INFORMATION ON THIS CASE SEE UNDER SHERIFF ANTHONY MADRIDS SUPPLEMENTAL
REPORT)

(SEE ATTACHMENT (B) SEARCH WARRANT AND AFFIDAVIT FOR SEARCH WARRANT)

(SEE ATTACHMENT (C) RETURN OF INVENTORY)



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   STATE OF NEW MEXICO INCIDENT REPORT               -                                I
                                                                                      ORINO.
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                                                                                                                    INCIDENT NO.
                                                                                                                                                                         PRI~~ P~GE             I   OF

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    SHOULD THE OFFENDER
                                       "I UNDERSTAND IT IS A CRIMINAL COMPLAINTANT I VICTIM
                                             OFFENSE TO FILE A        CERTIACAT!ON
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REPORTING OFFICER
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DETECTIVE I FOLLOW-UP OFFtcm I REFERRED TO


PROCESSED BY                                  DATE                            DATA ENTRY PERSON
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INCIDENT STATUS
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AGENCY OPTIONAL USE (DISTRIBUTION. OTHER OFFICERS, ETC.)                                                                         '-""'>t:::O_'-":_I:AI<C_'J_"_!   f11<>AI<J' :<jl
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   Vigil v. Tweed, et al.                                             Plainitiff's Initial Rule 26 Disclosures                                                                        000011
